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                                                                        .JI\D~
                      UNITED STATES DISTRICT COURT
                                                                           JUL 11 2018
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA,               §
             Plaintiff                  §
             V.                         § CRIMINAL NO. H-15-210 S
                                        §
                                        § Count 1 Conspiracy (18 U.S.C. § 371)
        and                             § Count 2 Wire Fraud (18 U.S.C. §1343)
SYED RIZWAN MOHIUDDIN,                  § Counts 3 & 4 Monetary Transactions in Criminally
            Defendants                  § Derived Property ( 18 U .S.C §1957)
                                      . § Count 5 Bank Fraud (18 U.S.C. §1344)
                                         §     Notices of Criminal Forfeiture


                                Filed Under Seal


                         SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

                                    Count One
                           (Conspiracy, 18 U.S.C. § 371)

A.    INTRODUCTION

At all times material herein:

      1. Deyaar Development Corporation was a Texas corporation with its

principal place of business in Houston, Texas. In approximately December 2007,

Deyaar Development Corporation purchased approximately 6 acres of land located

at 5000 Richmond Avenue in Houston, Texas (Property).

      2. Antar and Company (Antar) was a Texas general partnership.

      3. Defendant                                 filed an assumed name certificate

with the County Clerk of Harris County, Texas, to do business in the name ofDeyaar
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Development Company.

      4. Defendant Syed Rizwan Mohiuddin held himself out as the local

representative or "point man" for Deyaar Development Corporation.

B.    THE CONSPIRACY

      5. Beginning in or about February 2010, and continuing through on or about

April 29, 2010, in the Houston Division of the Southern District of Texas, and

elsewhere


                                And
                        SYEDRIZWAN MOHIUDDIN


defendants herein, did knowingly combine, conspire, confederate and agree with one

another to commit the following offenses against the United States:

      a.    To knowingly devise and intend to devise a scheme and artifice to

            defraud, and for obtaining money and property by means of false and

            fraudulent pretenses, representations, and promises, and to knowingly

            transmit and cause to be transmitted certain signs, signals and radio for

            the purpose of executing the scheme and artifice to defraud, in violation

            of 18 U.S.C. § 1343;

      b.    To knowingly engage or attempt to engage in a monetary transaction in

            criminally derived property of a value greater than $10,000, which was

            derived from a specified unlawful activity, in violation of 18 U.S.C. §

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               1957.

 C.   THE MANNER AND MEANS OF THE CONSPIRACY

       1.   It was a part of the conspiracy that defendants                   and

MOHIUDDIN would and did represent and caused to be represented that defendant

            was an authorized agent of Deyaar Development Corporation.

      2.       It was a part of the conspiracy that defendant                 and

MOHIUDDIN would and did attempt to obtain from private lenders a loan to be

secured by the Property.

      3.       It was a part of the conspiracy that defendant                 and

MOHIUDDIN would and did cause fraudulent documentation to be submitted to

private lenders, including Antar.

      4.       It was a part of the conspiracy that defendant                 and

MOHIUDDIN would and did represent and cause to be represented at a closing of a

loan in the amount of $8 million from Antar to Deyaar Development Corporation

that defendant             was authorized to act on behalf of Deyaar Development

Corporation.

      5.       It was a part of the conspiracy that defendant                 and

MOHIUDDIN would and did execute and cause to be executed loan documents from

Antar for an $8 million loan to Deyaar Development Corporation, secured by a lien

on the Property.


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      6.        It was a part of the conspiracy that defendant                    and

MOHIUDDIN would and did cause Antar to fund the loan by wire transferring $8

million into the bank account of the title company closing the loan.

      7.        It was a part of the conspiracy that the defendant                and

MOHIUDDIN would and did cause the proceeds from the Antar loan to be deposited

by wire transfer into a bank account controlled by defendant

      8.       It was a part of the conspiracy that the defendant                 and

MOHIUDDIN would and did use the proceeds from the Antar loan for their own use

and benefit.

D.    OVERT ACTS

      The following overt acts were committed in the execution of the conspiracy

in the Houston Division of the Southern District of Texas and elsewhere.

      (1)        On or about February 23, 2010, defendant                         and

MOHIUDDIN caused another to seek a loan from IICB, LP to be secured with a lien

on the Property.

      (2)      In or about April 2010, defendant                 and MOHIUDDIN

caused others on their behalf to approach Antar about a loan.

      (3)      On or about April 7, 2010, defendant             filed a certificate to

operate under the assumed name of Deyaar Development Company with the County

Clerk of Harris County, Texas.


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      (4)   On or about April 10, 2010, defendant                    opened a bank

account at Wachovia Bank in the name of                   dba Deyaar Development

Company.

      (5)   On or about April 28, 2010, defendant                      fraudulently

executed documents for a loan in the amount of $8,000,000 from Antar to Deyaar

Development Corporation, to be secured by a lien on the Property.

      (6)   On or about April 29, 2010, defendant                  and MOHIUDDIN

caused Antar to wire transfer $8 million into the bank account of Charter Title

Company to fund the loan to Deyaar Development Corporation.

      (7)   On or about April 29, 2010, defendant                  and MOHIUDDIN

caused Charter Title Company to wire transfer $6,949,628.46 into the account of

                dba Deyaar Development Company at Wachovia Bank.

      (8)   On or about April 29, 2010, defendant                  and MOHIUDDIN

withdrew and caused to be withdrawn $6,850,128.46 from the account of Deyaar

Development Company at Wachovia Bank.

      (9)   On or about April 29, 2010, defendant                  and MOHIUDDIN

deposited and caused to be deposited $6,850,128.46 into the account of Imagine

Hospitality at Wachovia Bank.

      In violation of Title 18, United States Code, Section 371.




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                                  COUNTTWO
                           (Wire Fraud, 18 U.S.C. § 1343)

A.    INTRODUCTION

      1.     The grand jury realleges the allegations in paragraphs 1 through 4 of

Count One as if fully set out at length herein.

B.    SCHEME AND ARTIFICE

      2.      Beginning in or about February 2010 and continuing through in or

about April 29, 2010, in the Houston Division of the Southern District of Texas, and

elsewhere



                                       . And
                          SYED RIZWAS MOHIUDDIN

defendants herein, did knowingly execute and attempt to execute a scheme and

artifice to defraud and to obtain money by means of materially false and fraudulent

pretenses, representations and promises including the concealment of material facts.

C.    THE MANNER AND MEANS

      3.      The manner and means of the scheme and artifice included, but were

not limited to the following:

      4.      It was part of the scheme and artifice that the defendant

and MOHIUDDIN fraudulently represented that                     was authorized to act

on behalf of Deyaar Development Corporation.

      5.     It was part of the scheme and artifice that the defendant           and

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MOHIUDDIN would and did fraudulently negotiate on behalf of Deyaar

Development Corporation for a loan from Antar, to be secured by lien on the

property at 5000 Richmond Avenue, Houston, Texas.

         6.   It was part of the scheme and artifice that the defendant

would and did file and caused to be filed a certificate to operate under the assumed

name of Deyaar Development Company with the County Clerk of Harris County,

Texas.

      7.      It was part of the scheme and artifice that the defendant

opened a bank account in the name of                       dba Deyaar Development

Company.

      8.      It was part of the scheme and artifice that defendant          would

and did fraudulently execute loan documents on behalf of Deyaar Development

Corporation for a loan from Antar.

      9.      It was part of the scheme and artifice that defendants            and

MOHIUDDIN would and did conceal from Antar the fact that                    was not

authorized to act on behalf of Deyaar Development Corporation.

         10. It was a part of the scheme and artifice to defraud that defendants

              and MOHIUDDIN would and did cause Charter Title Company to wire

transfer the money from the loan fraudulently obtained from Antar to defendant

              S bank account at Wachovia Bank.


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      11.   It was a part of the scheme and artifice to defraud that defendants

            and MOHIUDDIN would and did use the money from the loan

fraudulently obtained from Antar for their own use and benefit.

D.    EXECUTION

      12.   On or about April 29, 2010, in the Houston Division of the Southern

District of Texas, and elsewhere,


                                 and
                        SYED RIZWAN MOHIUDDIN

Defendants herein, for the purposes of executing the aforesaid scheme and artifice

to defraud and intending to do so, and for obtaining money by means of materially

false and fraudulent pretenses, representations and promises, including the

concealment of material facts, did knowingly transmit and cause to be transmitted

by means of wire, radio and television communication in interstate and foreign

commerce writings, signs, signals, pictures and sounds, namely the wire transfer of

$6,949,628.46 from the bank account of Charter Title Company at Amegy Bank to

the bank account of                      dba Deyaar Development Company at

Wachovia Bank.

      In violation of Title 18, United States Code, Sections 1343 and 2.




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                             COUNT THREE
 (Engaging in Monetary Transactions Derived from Specified Unlawful Activity,
                              18 u.s.c. 1957)

      1.     The Grand Jury realleges and incorporates by reference, as though set

forth in full herein, the allegations set forth in Sections A and C of Counts One and

Two of this Indictment.

      2.     On or about April 29, 2010, in the Houston Division of the Southern

District of Texas,


                                   and
                          SYED RIZWAS MOIDUDDIN

defendants herein, did knowingly engage in, and attempt to engage in, a monetary

transaction in criminally derived property of a value greater than $10,000, affecting

interstate commerce, that is, the withdrawal of $6,850,128.46 from the account of

                 dba Deyaar Development Company at Wachovia Bank in Houston,

Texas, a financial institution engaged in interstate commerce, such funds having

been derived from specified unlawful activity, that is wire fraud, in violation of Title

18, United States Code, Section 1343.

      In violation of Title 18, United States Code, Sections 1957 and 2.




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                              COUNTFOUR
 (Engaging in Monetary Transactions Derived from Specified Unlawful Activity,
                               18 U.S.C. 19_57)

      1.     The Grand Jury realleges and incorporates by reference, as though set

forth in full herein, the allegations set forth in Sections A and C of Counts One and

Two of this Indictment.

      2.     On or about April 29, 2010, in the Houston Division of the Southern

District of Texas,


                                   and
                          SYED RIZWAN MOHIUDDIN

defendants herein, did knowingly engage in, and attempt to engage in, a monetary

transaction in criminally derived property of a value greater than $10,000, affecting

interstate commerce, that is, the deposit of $6,850,128.46 into the account of

Imagine Hospitality at Wachovia Bank in Houston, Texas, a financial institution

engaged in interstate commerce, such funds having been derived from specified

unlawful activity, that is wire fraud, in violation of Title 18, United States Code,

Section 1343.

      In violation of Title 18, United States Code, Sections 1957 and 2.




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                                 COUNT FIVE
                          (Bank Fraud, 18 U.S.C. § 1344)

A.    INTRODUCTION

      1.     The Federal Deposit Insurance Corporation (FDIC) was an agency of

the United States established to regulate banks and protect depositors by insuring

accounts of bank depositors against loss up to $250,000 with the purpose of

preventing their collapse and instilling public confidence in the nation's banks. The

FDIC was backed by the United States government.

      2.     Sterling Bank ("Sterling") was a financial institution m Houston,

Texas, the deposits of which were insured by the FDIC.

      3.    Imagine Hospitality Inc. ("Imagine") was a company formed and

owned by defendant Syed Rizwan Mohiuddin.

      4.     Sydenham Management Company was a company in Houston, Texas,

which defendant Syed Rizwan Mohiuddin controlled.

      5.    American National Title Company ("ANT") was a title company in

Houston, Texas, which was controlled by defendant Syed Rizwan Mohiuddin.

B.    SCHEME AND ARTIFICE

      1.    Beginning in or about May 2008 and continuing through in or about

August 2008, in the Houston Division of the Southern District of Texas, and

elsewhere

                         SYED RIZWAN MOHIUDDIN
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defendant herein, did knowingly execute and attempt to execute a scheme and

artifice to defraud Sterling Bank, and to obtain money, funds and credit owned by

and under the custody and control of Sterling Bank by means of materially false and

fraudulent pretenses, representations and promises including the concealment of

material facts.

C.     THE MANNER AND MEANS

       The manner and means of the scheme and artifice included, but were not

limited to the following:

       1.     It was part of the scheme and artifice that the defendant would and did

apply for a loan from Sterling Bank to refinance property owned by Imagine at

16510 I-45 North, in Houston, Texas, agreeing to provide Sterling Bank a first lien

on that property.

       2.     It was part of the scheme and artifice that the defendant would and did

deliver and cause to be delivered to Sterling Bank documents, which fraudulently

listed the amount of the liens which needed to be paid off from Sterling Bank loan

to Imagine.

       3.     It was a part of the scheme and artifice that the defendant would and

did cause the closing for the loan from Sterling Bank to be held at ANT.

       4.     It was part of the scheme and artifice that the defendant would and did

execute closing documents at ANT purporting to give Sterling Bank a first lien in


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the property at 16510 I-45 North in Houston, Texas.

       5.    It was part of the scheme and artifice that the defendant would and did

cause Sterling Bank to fund the loan to Imagine.

       6.    It was part of the scheme and artifice that the defendant would and did

cause ANT to divert money from the Sterling Bank loan to Imagine for his personal

use and benefit by wire transferring over $1.6 million to Sydenham Management

Company.

       7.    It was a part of the scheme and artifice that the defendant would and

did cause a fraudulent title policy from Southern Title Company to be issued and

delivered to Sterling Bank, representing that Sterling Bank had the first lien on the

property at165IO I-45 North in Houston, Texas, when in truth and in fact as the

defendant well knew Sterling Bank did not have the first lien on that property.

D.     EXECUTION

       1.    On or about July 18, 2008, in the Houston Division of the Southern

District of Texas, and elsewhere, the defendant executed and attempted to execute

the aforesaid scheme and artifice to defraud, by causing Sterling Bank to fund the

loan to Imagine by wire transferring $4,959,045.00, to the bank account of ANT at

Amegy Bank in Houston, Texas.




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                    NOTICE OF CRIMINAL FORFEITURE
                       {Title 18, U.S.C. § 982(a)(2)(A))

      Pursuant to Title 18, United States Code, Section 982(a)(2)(A), the United

States gives notice that the defendants


                                   And
                          SYED RIZWAN MOHIUDDIN

shall forfeit to the United States of America, all property constituting, or derived

from, proceeds the defendant obtained directly or indirectly, as a result of the

violations charged in Counts One and Two of the Indictment (relating to Title 18,

United States Code, Section 1343, wire fraud). The property subject to forfeiture,

includes, but is not limited to, the following property:

      Approximately $6,949,628.46 in United States Dollars.


                    NOTICE OF CRIMINAL FORFEITURE
                           (18 U.S.C. § 982(a)(l))

      Pursuant to Title 18, United States Code, Section 982(a)(l ), as a result of the

commission of the violations charged in Counts One, Three and Four (relating to

Title 18, United States Code, Section 1957, engaging in monetary transactions

derived from specified unlawful activity), notice is given that the defendant



shall forfeit to the United States of America all property, real and personal, involved
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in such violation and all property traceable to such property. The property subject

to forfeiture, includes, but is not limited to, the following property:

      Approximately $6,949,628.46 in United States Dollars.



                    NOTICE OF CRIMINAL FORFEITURE
                           (18 U.S.C. § 982(a)(2))

      Pursuant to Title 18, United States Code, Section 982(a)(2), as a result of the

commission of the violation charged in Count Five (relating to Title 18, United

States Code, Section 1344, bank fraud), notice is given that the defendant

                          SYED RIZWAN MOHIUDDIN

shall forfeit to the United States of America all property constituting or derived from

proceeds obtained, directly or indirectly, as the result of such offense. The property

subject to forfeiture, includes, but is not limited to, the following property:

      Approximately $4,959,045.00 in United States Dollars.




              MONEY JUDGMENT AND SUBSTITUTE ASSETS

      Defendants are notified that upon conviction, a money judgment may be

imposed against each of them.       In the event that a condition listed in Title 21,

United States Code, Section 853(p) exists, the United States will seek to forfeit any

other property of the defendants in substitution up to the amount of each defendant's


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money judgment.

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                                                                       /J   •

                                              Original Signature on File
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                                    For(person of the Gra~d Ju~


    RYANK. PATRICK
    United States Attorney


By:~)2
      R. Braddock
                    &-hL~L
 Assistant United States Attorney




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 USA-74-24B
 (Rev. 05/01)
                                                                   CRIMINAL DOCKET
 HOUSTON DIVISION                                                         SEALED                               No. H-15-210 S
USAO Number:                    2011RI1946
Magistrate Number:
SUPERSEDING INDICTMENT

UNITED STATES of AMERICA
                                                          Filed
                                                                  --------ATTORNEYS:
                                                                        7/11/2018               Judge:                 ELLISON


                                                                            RYAN K. PATRICK, USA                              (713) 567-9000
 vs.
                                                                            JOHN R. BRADDOCK, AUSA                             (713) 567-9728

                                                                                                                             Appt'd    Private
                                           [Cts. 1-4]                                                                           D        D
 SYED RIZWAN MOHIUDDIN                    [Cts. 1-5]                                                                            D        D
                                                                                                                                D        D
                                                                                                                                D        D
                                                                                                                                D        D

                  Ct. 1:    Conspiracy [18 USC§ 371]

 CHARGE: Ct. 2:             Wire Fraud [18 USC§ 1343]

(C~~J¢i?) Cts. 3-4: Engaging in Monetary Transactions Derived from Specified Unlawful Activity [18 USC 1957]
  ( 5 )           Ct. 5:     Bank Fraud [18 USC § 1344]




PENAL1Y: Ct. 1:              Up to 5 years imprisonment, $250,000 fine, 3 years supervised release, and $100 special assessment.
                   Ct. 2:    Up to 20 years imprisonment, $250,000 fine, 5 years supervised release, and $100 special assessment.
                   Cts. 3-4: Up to 10 years imprisonment, $250,000 fine, 3 years supervised release, and $100 special assessment, per count.
                   Ct. 5:    Up to 30 years in imprisonment, $1,000,000 fine, 5 years supervised release and $100 special assessment.

                   NOTICE OF CRIMINAL FORFEITURE [18 USC§ 982 (a)(2)(A)]
                   NOTICE OF CRIMINAL FORFEITURE [18 USC§ 982 (a)(l)]
                   NOTICE OF CRIMINAL FORFEITURE [18 USC§ 982 (a)(2)]




    D   In Jail                                                             NAME & ADDRESS
                                                                            of Surety:
    D On Bond
    D   No Arrest

                                                                  PROCEEDINGS:
